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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  KEITH HOBBS, individually and on behalf
  of all others similarly situated,
                                                    Case No. 1:19-cv-00571
                         Plaintiff,

       v.                                           ENTRY OF APPEARANCE OF
                                                    STEPHEN A. KLEIN
  HOMEADVISOR, INC. a Delaware
  corporation,
                         Defendant.


       To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I appear

in this case as counsel for Plaintiff Keith Hobbs and the alleged Classes.


       DATED at Denver, Colorado this 26th day of February, 2019.

                                                      ,       s/     Stephen A. Klein

                                                             Stephen A. Klein
                                                             sklein@woodrowpeluso.com
                                                             Woodrow & Peluso, LLC
                                                             3900 E Mexico Avenue, Suite 300
                                                             Denver, Colorado 80210
                                                             720-907-4654




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 26, 2019 I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record.



                                                       s/   Stephen A. Klein




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